Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 1 of 6




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. _______________


 MELVIN BARTOLOME
 SANTOS CAMACHO;

           Plaintiff,
 v.

 UNITED STATES OF AMERICA,

       Defendant.
 _____________________________________/

                                             COMPLAINT

           Plaintiff Melvin Bartolome Santos Camacho files this Complaint for damages against

 defendant United States of America for the wrongful actions of doctors, employees, and other

 agents of the Department of Veterans Affairs.

                                     NATURE OF THE ACTION

           1.      This is an action against the defendant, United States of America, under the

 Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2671-2680, for injuries sustained by plaintiff

 Melvin Santos Camacho arising from the negligent and wrongful acts and omissions of

 employees, agents, and doctors of the Department of Veterans Affairs that resulted in the

 irreparable mutilation of Mr. Santos Camacho’s genitalia and the deterioration of his mental

 health.

                                            THE PARTIES

           2.      Plaintiff Melvin Santos Camacho is a disabled Army veteran who currently

 resides in Hollywood, Florida. Mr. Santos Camacho has traveled to Puerto Rico extensively to
Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 2 of 6




 assist his family with personal matters. While in Puerto Rico, Mr. Santos Camacho has received

 medical treatment from the Veterans Affairs hospital in San Juan (the “VA Hospital”).

        3.       Defendant United States of America maintains the Department of Veteran Affairs

 and employs the doctors and staff at the VA Hospital that treated Mr. Santos Camacho. The

 Department of Veterans Affairs also maintains hospitals in this district.

                                 JURISDICTION AND VENUE

        4.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

 § 1331 and the Federal Tort Claims Act, 28 U.S.C. § 1346(b)(1).

        5.      Venue is proper in this Court, under 28 U.S.C. § 1391(e)(1), because this action is

 against the United States and Mr. Santos Camacho is a resident of this judicial district.

        6.      Mr. Santos Camacho has satisfied all jurisdictional prerequisites to the filing of

 this complaint, under 28 U.S.C. § 2675(a). On March 9, 2018, Mr. Santos Camacho filed an

 administrative claim. As of the date of this filing, the Department of Veterans Affairs has not

 issued a ruling on Mr. Santos Camacho’s administrative claim.

        7.      All conditions precedent to this action have occurred, been performed, or have

 been waived.

                                   FACTUAL ALLEGATIONS

        8.      Mr. Santos Camacho has received medical and mental health treatment almost

 exclusively from the Department of Veterans Affairs for more than 30 years.

        9.      On September 27, 2012, Mr. Santos Camacho was admitted into the VA Hospital

 to address severe pain that he was experiencing from an erection that would not subside. That

 same day, Mr. Santos Camacho was diagnosed with a priapism that was caused by a combination

 of medications that VA doctors had prescribed to Mr. Santos Camacho. The doctors at the VA



                                                  2
Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 3 of 6




 Hospital failed to warn Mr. Santos Camacho that the medicines prescribed to him could

 potentially put him at risk for priapism.

        10.     On September 28, 2012, Dr. Gabriel J. Miranda-Ramirez, a doctor at the VA

 Hospital, performed surgery on Mr. Santos Camacho to relieve the priapism.

        11.     During a follow-up visit at the VA Hospital, Mr. Santos Camacho informed Dr.

 Miranda that he was unable to have an erection following the September 28, 2012 surgery. Dr.

 Miranda diagnosed Mr. Santos Camacho with erectile dysfunction and recommended that he

 undergo surgery to address his erectile dysfunction by implanting an inflatable penile prosthesis.

 Dr. Miranda stated that he would personally perform the surgery and assured Mr. Santos

 Camacho by stating that he was the Urology Section Chief of the VA Hospital. Mr. Santos

 Camacho trusted Dr. Miranda and followed his recommendation to undergo surgery to implant

 an inflatable penile prosthesis.

        12.     On July 25, 2013, Mr. Santos Camacho underwent surgery to implant an

 inflatable penile prosthesis to address his erectile dysfunction.

        13.     Following the July 25, 2013 surgery, VA doctors performed four additional

 invasive and severely painful surgeries to implant, replace, and repair penile prostheses over a

 period of three years. Each surgery was motivated by the doctors’ knowing efforts to conceal the

 egregious medical errors committed by their colleagues.

        14.     In September 2017, Mr. Santos Camacho met with Dr. Richard Stack in Augusta,

 Georgia. During that medical visit, Mr. Santos Camacho learned for the first time about the

 detrimental effects of the surgeries performed by Dr. Miranda and the other doctors at the VA

 Hospital.




                                                   3
Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 4 of 6




        15.     Dr. Stack informed Mr. Santos Camacho that the only possibility of correcting the

 many faulty surgeries would be to undergo a high-risk invasive surgical operation with a low

 probability of success and a high risk of infection that could ultimately result in the amputation

 of his penis. According to Dr. Stack, this corrective surgery on Mr. Santos Camacho would

 involve “opening [him] up like a banana.”

        16.     Mr. Santos Camacho elected not to undergo the dangerous surgery suggested by

 Dr. Stack considering the low probability of success associated with the surgery.

        17.     After years of painful surgeries and excruciating recoveries, Mr. Santos Camacho

 has suffered permanent physical damage, including constant pain, scarring, fibrosis, and

 permanent disfigurement. Mr. Santos has also suffered from a deterioration of his mental health,

 stemming from his erectile dysfunction. Mr. Santos Camacho has been unable to engage in

 sexual intercourse as a result of the failed surgeries by the VA doctors.

                                       CAUSE OF ACTION

                                            COUNT I
                                         (NEGLIGENCE)

        18.     Mr. Santos Camacho realleges and incorporates by reference paragraphs 1

 through 17 of this Complaint.

        19.     Defendant owed a duty to Mr. Santos Camacho to exercise reasonable care in

 treating him for his ailments.

        20.     Defendant breached its duty of care to Mr. Santos Camacho by:

                (a)     Failing to properly warn him that his prescribed medications put him at

                        risk for priapism;

                (b)     Failing to timely and properly treat his priapism and other medical

                        conditions, including fibrosis;

                                                  4
Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 5 of 6




             (c)   Failing to timely and properly treat his erectile dysfunction;

             (d)   Strongly recommending a high-risk surgical procedure to implant a penile

                   prosthesis and other subsequent surgeries to replace and repair the

                   prostheses;

             (e)   Failing to properly warn Mr. Santos Camacho of the substantial risks of

                   implanting a prosthesis, including the risk that the prosthesis would not

                   remedy his erectile dysfunction and the likelihood of deformity, infection,

                   and scaring;

             (f)   Failing to properly select and implant medically-appropriate prostheses

                   and associated parts;

             (g)   Causing Mr. Santos Camacho to experience a severe supersonic

                   transporter (“SST”) deformity as a result of multiple failed surgical

                   procedures;

             (h)   Causing and failing to properly treat Mr. Santos Camacho for fibrosis in

                   his penis before inserting prostheses and causing additional fibrosis and

                   scarring by continuing to perform failed surgeries;

             (i)   Prescribing and providing medications, without proper consideration of

                   Mr. Santos Camacho’s medical and mental health conditions, which were

                   well documented; and

             (j)   Withholding and misrepresenting pertinent information that Mr. Santos

                   Camacho needed regarding his medical condition to make informed

                   medical choices.




                                             5
Case 0:19-cv-61167-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 6 of 6




        21.     As a direct result of Defendant’s breach of its duty to Mr. Santos Camacho, he has

 experienced tremendous damage, including constant physical pain, mental pain and anguish,

 scarring, fibrosis, permanent disfigurement, a severe SST deformity, deterioration of his mental

 health, and an inability to engage in sexual intercourse.

        WHEREFORE, Mr. Santos Camacho demands judgment in his favor against Defendant

 awarding damages, including compensation for all the damages he has suffered, prejudgment

 interest, costs, and such other relief as the Court deems appropriate.

                                     JURY TRIAL DEMAND

        Mr. Santos Camacho demands a trial by jury on all of the issues raised in this complaint.

 Dated: May 8, 2019.


  RIVERO MESTRE LLP                                          BRUCE L. UDOLF, P.A.
  Counsel for Mr. Santos Camacho                             Co-Counsel for Mr. Santos Camacho
  2525 Ponce de León Blvd., Suite 1000                       Broward Financial Centre
  Miami, Florida 33134                                       500 East Broward Blvd., Suite 1400
  Telephone: (305) 445-2500                                  Fort Lauderdale, Florida 33394
  Facsimile: (305) 445-2500                                  Telephone: (954) 858-8831
  Email: arivero@riveromestre.com                            Facsimile: (954) 525-2134
  Email: cwhorton@riveromesre.com                            Email: budolf@bruceudolf.com

  By: /s/ Andres Rivero                                      By: /s/ Bruce L. Udolf
   ANDRES RIVERO                                               BRUCE L. UDOLF
   Florida Bar No. 613819                                      Florida Bar No. 0899933
   CHARLIE WHORTON
   Florida Bar No. 46894


                                  CERTIFICATE OF SERVICE

        I CERTIFY that on May 8, 2019, I electronically filed this document with the Clerk of
 the Court using CM/ECF. I also certify that this document is being served today on all counsel of
 record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
 Mail.

                                                       ____s/ Andrés Rivero _____
                                                          ANDRÉS RIVERO

                                                  6
